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                MOVEMENTDAO AND MARK PHILLIPS’ COUNTERCLAIM

          Counterclaim Plaintiffs MovementDAO and Mark Phillips (“Mr. Phillips”) (collectively,

   “Counterclaim-Plaintiffs”), by and through their attorneys, Dhillon Law Group Inc., for a

   counterclaim against Ryan Breslow (“Mr. Breslow”), Alex Fine (“Mr. Fine”), and Jon Gordon

   (“Mr. Gordon”) (collectively, “Counterclaim-Defendants”), allege and aver as follows:

                                             Introduction

          1.      In July 2021, Mr. Phillips was a computer programmer working as a Lead

   Developer under contract with the Securities and Exchange Commission’s (“SEC”).

          2.      Mr. Breslow, an entrepreneur who founded electronic payment company Bolt

   Financial Inc. (“Bolt”), along with his business partners Messrs. Fine and Gordon, lured Mr.

   Phillips away from the SEC to build a decentralized autonomous organization (“DAO”) that would

   facilitate the creation of other DAOs.

          3.      DAOs are member-managed organizations with no hierarchy, or centralized

   leadership. Within a DAO, decisions are made by building a coalition of support amongst members

   through voting.

          4.      Mr. Phillips’ expertise in blockchain development was very much in demand at this

   time, as technologists, venture capitalists, and others were making big bets on platforms based on

   cryptocurrency and blockchain technology. Mr. Phillips was so inundated with job offers relating

   to decentralized finance, non-fungible tokens (“NFTs”), DAO tooling and applications, and

   cryptocurrency exchanges, and off-ramps, that he disabled his LinkedIn profile. Mr. Phillips

   valued his role at the SEC, where he performed meaningful and socially valuable work. Mr.

   Phillips wanted cryptocurrency to succeed, and he believed weeding out bad actors through his

   work at the SEC was necessary for cryptocurrency’s continued growth and viability.



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          5.      Mr. Breslow was able to offer something different from other technology

   companies seeking Mr. Phillips’ services: a chance to build an organization that would itself be a

   social good. Mr. Breslow’s idea was to build a DAO in which members could contribute money

   to fund social movements. The DAO would provide the tooling and architecture for subsidiary

   DAOs dedicated to various social causes that would pay “tribute” to the main DAO. The DAO’s

   tooling would include a shared treasury, built-in transparency in governing and accounting,

   defined roles for developers, and the use of smart contracts to encode a defined system of

   governance. In other words, the DAO would be a platform for funding and governing new

   charitable ventures and potentially for-profit enterprises using a similar tooling. Mr. Phillips later

   learned that Messrs. Breslow and Gordon came up with the idea at an ayahuasca ceremony, where

   Mr. Breslow had a psychedelic-induced epiphany that God was telling him to create the DAO.

          6.      Ultimately, Mr. Phillips left the SEC to build the DAO, which would become

   MovementDAO. Mr. Phillips’ decision was based on a fundamental promise on Mr. Breslow’s

   part: that Mr. Breslow (and the other founders, Messrs. Fine and Gordon) would lock their

   contributions to the DAO for a period of six years. This promise was essential because scams

   known as “rug pulls” abounded in the cryptocurrency space. A “rug” or “rug pull” is a common

   exit scam in the crypto space where a development team suddenly abandons a project and absconds

   with contributed funds. Mr. Breslow also promised that Mr. Phillips would have complete

   authority regarding the development team and budget, and assured Mr. Phillips that he and Messrs.

   Fine and Gordon were good people committed to doing the right thing. Based on the understanding

   that he would have sufficient time to build the DAO out properly with the right team and legal

   oversight, Mr. Phillips agreed to leave the SEC and build the DAO.




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          7.      Working seventy-two hour shifts under immense pressure from Counterclaim-

   Defendants, Phillips constructed the DAO, which launched as MovementDAO on February 2,

   2022. MovementDAO had a governing document (the GitBook) and the ability for DAOs to use

   its tooling to fund social movements. Indeed, Mr. Breslow and others were able to launch one such

   DAO under MovementDAO, the PeaceDAO, which was launched to fund humanitarian efforts in

   Ukraine. As of March 2022, a governance system was in place as community members who

   contributed to MovementDAO were issued MAPE NFTs with which they could vote on Discord

   (a multimedia social media and messaging platform) using the voting/polling feature. Later, voting

   would take place on Snapshot.org., an online platform on which individuals could vote for

   proposals on the blockchain using their Ethereum addresses.

          8.      By August 2022, MovementDAO’s governance system was fully in place after its

   members passed several important proposals regarding MovementDAO’s governance and

   operations on Snapshot, including confirming MovementDAO as a Delaware unincorporated

   nonprofit association, appointing Benjamin Reed (“Mr. Reed”) as MovementDAO’s Authorized

   Member, and confirming the appointment of the Law Office of Reed Yurchak (the “Law Firm”)

   as MovementDAO’s Service Provider. MovementDAO was thus a fully operational entity with

   full-time developers, a governance structure, and a means by which subsidiary DAOs could form

   under its umbrella to launch social movements.

          9.      In August 2022, Phillips’ initial fear that Counterclaim-Defendants intended to use

   MovementDAO as a piggybank rather than a charitable venture became realized. As Mr. Breslow’s

   exorbitant spending habits took its toll on his finances, Messrs. Breslow and Fine (and later

   Gordon) began pressing Mr. Phillips regarding options to reverse their contributions to

   MovementDAO,       which     Counterclaim-Defendants      began   describing,    wrongfully,   as




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   “investments.” Mr. Fine first indicated that he wanted to withdraw money from MovementDAO

   in June 2022.

          10.      Counterclaim-Defendants thus placed Mr. Phillips in a difficult position. On one

   hand, Mr. Phillips had committed to building MovementDAO and undergone immense personal

   sacrifices to do so, working alongside other MovementDAO contributors on a full-time basis. Mr.

   Phillips made these sacrifices with the understanding (based on Mr. Breslow’s promises) that

   MovementDAO would be a nonprofit organized as a DAO. On the other hand, some of

   MovementDAO’s largest contributors were now demanding that Mr. Phillips act counter to

   MovementDAO’s governing documents for their own financial gain. Despite this pressure, Mr.

   Phillips plowed forward and continued building MovementDAO. Unlike Counterclaim-

   Defendants, who had remained anonymous to the MovementDAO’s community, Mr. Phillips’

   name was tied to his role in MovementDAO. Thus, the reputation of Mr. Phillips, but not

   Counterclaim-Defendants, was on the line.

          11.      At the end of December 2022, the “rug pull” took place. Counterclaim-Defendants

   demanded that Mr. Phillips cease spending MovementDAO’s funds (which would kill

   MovementDAO) and allow them to redeem their contributions. At great personal risk to himself,

   Mr. Phillips honored his commitment to MovementDAO. Mr. Phillips could have taken the easy

   way out by letting Counterclaim-Defendants withdraw their funds, cashing out his own

   contributions, and finding a new job relating to blockchain technology, but Mr. Phillips believed

   in MovementDAO’s purpose and took seriously his obligations to the MovementDAO community.

   In order to induce Mr. Phillips to go along with the rug pull, Mr. Breslow indicated a willingness

   to pay Mr. Phillips a million dollars (in addition to paying Mr. Gordon additional funds), and take

   care of him with various business opportunities moving forward.




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              12.   Counterclaim-Defendants responded by taking drastic legal action against Messrs.

   Phillips and Benjamin Reed, MovementDAO’s Authorized Member. In order to obtain an ex parte

   temporary restraining order freezing MovementDAO’s assets, Counterclaim-Defendants

   concocted a fiction in which MovementDAO did not exist, Mr. Gordon had not participated in

   MovementDAO’s governance process, Mr. Phillips did not work for the SEC, and the Law Firm

   was not MovementDAO’s lawyer—all false.

              13.   Counterclaim-Defendants trampled on their legal obligations to MovementDAO

   and Mr. Phillips in their quest to take back the money they contributed to MovementDAO,

   breaching contracts with both, revealing that they had defrauded Mr. Phillips into leaving the SEC

   to join MovementDAO, and tortiously interfering with MovementDAO’s contracts with third

   parties.

                                                    Parties

              14.   Counterclaim-Plaintiff MovementDAO is a Delaware unincorporated nonprofit

   association (“DUNA”).

              15.   Counterclaim-Plaintiff Mark Phillips is an individual who resides in and is a citizen

   of Florida.

              16.   Upon information and belief, Counterclaim-Defendant Ryan Breslow is an

   individual who resides in and is a citizen of the United States Virgin Islands.

              17.   Upon information and belief, Counterclaim-Defendant Alex Fine is an individual

   who resides in and is a citizen of California.

              18.   Upon information and belief, Counterclaim-Defendant Jon Gordon is an individual

   who resides in and is a citizen of Texas.




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                                          Jurisdiction and Venue

          19.     The Court has jurisdiction over this counterclaim because it is asserted as a

   compulsory counterclaim to a complaint over which the Court has exercised diversity jurisdiction.

          20.     Venue is proper in the Southern District of Florida because many of the acts giving

   rise to the action took place in the Southern District of Florida.

                                                   Facts

          21.     In July 2021, Mr. Phillips was employed by InfoTrend Incorporated, a

   subcontractor to Its Agile, LLC, which was a prime contractor to the SEC under a solicitation for

   the provision of “blockchain and digital asset data support[.]” While Mr. Phillips was paid by

   InfoTrend incorporated, he was hired by the SEC to perform work for the SEC.

          22.     In order to obtain a contractor position with the SEC and obtain the requisite

   security clearance, Mr. Phillips completed a Declaration for Federal Employment, an FBI

   fingerprint search, and an authorization for release of credit information. Mr. Phillips fully

   disclosed his criminal history to the SEC—including acts outside the seven-year reporting

   period—and was granted employment.

          23.     As an expert in the Solidity, Bitcoin Script, and Typescript, coding languages used

   for blockchain transactions, Mr. Phillips’ skills were in high demand, so much so that he was

   inundated with so many unsolicited employment offers that he had to deactivate his LinkedIn

   profile. Ethereum was trading at $3,887.53 on September 3, 2021, and at $4,815.01 on November

   9, 2021, the highest it has ever been, and there was incredible demand for cryptocurrency

   engineers.

          24.     Counterclaim-Defendants were able to lure Mr. Phillips away from his SEC

   position by offering Mr. Phillips a role at what would become MovementDAO. Counterclaim-




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   Defendants knew full well that Mr. Phillips had prior run-ins with law enforcement. At least in

   meetings in August and September 2021, and in January, July, and August 2022, Mr. Phillips

   disclosed and discussed with Counterclaim-Defendants that he had been to jail and prison,

   including the circumstances related to his imprisonment. At a sushi dinner in September 2021, Mr.

   Phillips disclosed that he had been on both sides of the law, civil and criminal; that he had been in

   federal prison and jail for contempt; and that he had been nervous about being rejected for security

   clearance given his prior run-ins with the law. These discussions arose in a variety of

   circumstances: when the parties were discussing the legality of different types of entities and

   cryptocurrency pump and dump schemes; a discussion of experiences with drugs; and discussion

   of experiences with law enforcement. Mr. Phillips repeatedly made clear during the discussions

   that he had been in prison, and had no interest in doing anything that was questionable, or would

   lead to even the possibility of him running afoul of the law. It would be particularly embarrassing

   to Mr. Phillips to be involved in a cryptocurrency fraud given his relationship with his colleagues

   at the SEC. Mr. Phillips’ experience spoke for himself, and he could just code and get paid. He did

   not need to engage in any questionable practices. Counterclaim-Defendants, meanwhile,

   seemingly viewed Mr. Phillips’ previous encounters with the law as a plus as they appreciated Mr.

   Phillips’ redemption arc that concluded with his obtaining a security clearance to work for the

   SEC.

          25.     During these same discussions, Mr. Gordon revealed that he had run-ins with the

   law on account of repeated acts of reckless driving; and Mr. Fine revealed that he never paid taxes

   (a common issue in cryptocurrency transactions) and would steal others’ license plates to evade

   parking tickets and citations for illegally parking the van he lived out of.




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          26.     Messrs. Breslow, Fine, and Gordon planned to develop a decentralized autonomous

   organization (ultimately MovementDAO) to facilitate social and environmental movements, and

   set of tooling which created other DAOs, in effect, enabling smaller communities to form their

   own DAOs to promote social movements using MovementDAO’s governance structure and

   technological architecture. MovementDAO would provide a set of decentralized finance activities

   for which it, or a related entity, would receive some fee or benefit (a “tribute”). However,

   Counterclaim-Defendants lacked the technical ability to develop and manage the contemplated

   DAO’s creation, and needed Mr. Phillips for the task.

          27.     Mr. Phillips initially performed work pursuant to a Consulting Agreement with

   Merkaba, Inc. (“Merkaba”), under which Mr. Phillips agreed to perform blockchain architecture

   and related services for Merkaba for $125 an hour. The Agreement initially had a one month term,

   and was renewable on a monthly basis. Between August 2021 and November 2021, Mr. Phillips

   helped lay the foundation for what would become MovementDAO, analyzing the structure of

   existing DAOs, reporting on legal entities and models, devising funding and governance models

   (including the issuance of NFTs and users interfaces), and ensuring that the DAO would operate

   under a regime of trust and legitimacy. Counterclaim-Defendants later instructed Mr. Phillips

   never to use the name Merkaba and called the organization various names, including TedDAO, a

   reference to the comedy show Curb Your Enthusiasm, in which the actor Ted Danson made an

   anonymous donation, but made sure everyone knew he was the donor (similar to Mr. Breslow’s

   initial intentions). As a result of Mr. Phillips’ efforts, Mr. Breslow asked Mr. Phillips to assume a

   more prominent, full-time role in the venture, which would entail Mr. Phillips leaving the SEC.

          28.     Mr. Phillips explained that he would leave SEC to help create MovementDAO on

   a full-time basis, subject to three non-negotiable conditions: (1) Mr. Phillips would have veto




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   power over decisions relating to MovementDAO’s treasury in order to assuage Mr. Phillips’ worry

   that the project would devolve into a cryptocurrency pump-and-dump scheme; (2)

   MovementDAO’s founders, i.e., Counterclaim-Defendants, would commit to providing

   substantial funding to MovementDAO, and agree to lock their contributions for six years so that

   the project would be sufficiently secure to attract developers and donors; and (3) MovementDAO

   would not engage in conduct tantamount to the unregistered offering of securities, a concern to

   which Mr. Phillips was especially sensitive given his SEC work. Counterclaim-Defendants agreed

   to these terms, and Mr. Phillips left the SEC to focus on building the DAO.

          29.    In December 2021, the DAO assumed the name MovementDAO. Hoping to remain

   anonymous, Mr. Breslow instructed Mr. Phillips to document transactions involving

   MovementDAO through various entities with “Ted” in their name (e.g., Ted One, LLC) and to use

   the Law Firm as an intermediary for payments.

          30.     On December 6, 2021, following the parties’ evolving discussions on

   MovementDAO’s launch and governance, Mr. Breslow and Mr. Phillips entered into a

   Confidential Independent Contractor Agreement (the “IC Agreement”), under which Mr. Breslow

   engaged Mr. Phillips to work exclusively on MovementDAO, and to fully develop and launch the

   DAO on or before January 1, 2022. This IC Agreement superseded and terminated the Consulting

   Agreement with Merkaba. Mr. Phillips would earn $1 million in cash under the IC Agreement and

   approximately $1 million in MovementDAO tokens. The IC Agreement clarified that Mr. Phillips

   was only an independent contractor, and that it would terminate on January 1, 2022. The IC

   Agreement was intended to be a stopgap measure, and after January 1, 2022, the parties were to

   come to a new agreement, or Mr. Phillips would be directly compensated by MovementDAO.




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           31.     After signing the IC Agreement and through the present, Mr. Phillips devoted

    tremendous time and energy to building MovementDAO. Mr. Phillips initially worked out of an

    Airbnb Mr. Breslow rented for him outside of Seattle. Mr. Breslow then flew Mr. Phillips to Miami

    so Mr. Phillips could work out of his home until Mr. Breslow set Mr. Phillips up with his own

    home near Mr. Breslow’s house. Mr. Breslow would go on to put this house up for sale in July

    2022 with no prior notice to Mr. Phillips. At Mr. Breslow’s direction, Mr. Phillips would work in

    shifts of seventy-two hours, taking every fourth day off. Mr. Breslow, meanwhile, gave an

    interview on how his company Bolt was the first company to have a four-day work week. Mr.

    Phillips was working under such pressure that Mr. Breslow expressed dissatisfaction when Mr.

    Phillips took time off after the death of his younger sister to locate her teenage son. Mr. Phillips

    even put off his own wedding, after Mr. Breslow agreed to cover the costs incurred regarding the

    original wedding date. It was during this period that Mr. Reed joined the MovementDAO

    community, initially as an unpaid contributor.

           32.     Mr. Phillips fully performed his obligations under the IC Agreement. On January

    2, 2022, Mr. Fine, using his alias “Steve Faffle,” sent the following email to Mr. Yurchak: “Hey

    Reed – wanted to give you the heads up that Mr. M [(Mr. Phillips)] is due to be paid the $1,000,000

    contract bonus :) Mr. M crushed it [rocket emoji].”




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            33.    The IC Agreement also required Mr. Breslow to contribute funds on behalf of Mr.

    Phillips to MovementDAO, such that Mr. Phillips would be entitled to 10% of tokens issued to its

    founders. Thanks to Mr. Phillips’ many hours of coding, the major technical elements of

    MovementDAO were in place.

            34.    Mr. Breslow and Mr. Phillips did not enter into a new contractor agreement on

    January 1, 2022. Instead, the parties came to an understanding that Mr. Phillips’ salary would be

    paid by MovementDAO, in the amount of $83,333 per month. Mr. Breslow further agreed to

    provide Mr. Phillips with medical benefits, relocation benefits, renovation expenses for his future

    office, a $5 million budget for compensation of a senior development team, and $1 million of

    MovementDAO tokens to allocate at Mr. Phillips’ discretion. Mr. Phillips could have received a

    comparable compensation package and management authority in the open market for engineers of

    his caliber.

            35.    The Law Firm provided the parties with the legal services necessary to build a large,

    sophisticated DAO, and contributed 100,000 DAI (approximately equivalent to the same amount

    in dollars) to MovementDAO. The Law Firm also facilitated the conversion of fiat money to


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    cryptocurrency in connection with contributions to MovementDAO (and later PeaceDAO) made

    by Counterclaim-Defendants and third parties. Counterclaim-Defendants knew full well that the

    Law Firm had engaged Mr. Phillips as a cryptocurrency and security consultant, and that he created

    and maintained dao-lawfirm.eth (the Ethereum Name Service (“ENS”) the Law Firm used) on

    behalf of the Law Firm. Indeed, Mr. Phillips worked out of the Law Firm’s offices when

    contracting with the SEC. The Law Firm provided legal services regarding cryptocurrency and

    was entitled to fees for that work. The Law Firm further agreed to defer a third of its fees in order

    to receive an equivalent value of tokens from MovementDAO.

           36.     The Law Firm also helped MovementDAO with its banking issues. As Mr. Phillips

    was no longer operating as Mr. Breslow’s contractor, and the parties were no longer operating

    Merkaba (Mr. Breslow ordered Mr. Phillips never to use the name Merkaba to avoid Mr. Breslow

    being publicly affiliated with MovementDAO), the parties could not use Mr. Breslow’s access to

    banking, or Merkaba’s ability to create a bank account and gain access to a credit card. Because

    DAOs are relatively new entities, traditional banking services and credit cards are not available to

    them. Accordingly, the Law Firm allowed MovementDAO’s founders to use the Law Firm’s credit

    cards (including an American Express card belonging to Marc Welton, a paralegal at the Law

    Firm). To pay those charges, Mr. Phillips would transfer cryptocurrency to Mr. Yurchak’s

    Coinbase account, sell the cryptocurrency, and transfer the sales proceeds to the linked bank

    account controlled by Mr. Yurchak. Mr. Phillips also paid for services rendered to MovementDAO

    by the Law Firm in this same manner.

           37.     In January 2022, Mr. Phillips created the Movement Gnosis with Messrs. Fine and

    Gordon’s agreement, which functioned as the virtual safe for Movement’s cryptocurrency. While

    Counterclaim-Defendants chose to give Mr. Phillips copies of their “keys” to the Gnosis, Mr.




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    Phillips provided Messrs. Fine and Gordon with physical copies of their own keys. Plaintiffs never

    formally entrusted their keys to Mr. Phillips in any written document. Mr. Phillips attempted to

    provide Mr. Breslow with a copy of his key and suggested that Mr. Gordon, as Mr. Breslow’s

    trustee be given a copy, but Mr. Breslow refused, stating that MovementDAO was his “gift to the

    world” and that he would never need or exercise his tokens.

            38.    Mr. Fine took charge of preparing MovementDAO’s GitBook, that is, an online

    white paper that set forth MovementDAO’s policies, goals, and governance mechanisms. Mr. Fine

    had complete editorial control over the final contents of the GitBook, making clear that Mr.

    Phillips’ role was limited to providing suggestions and drafting materials relating to Ethereum

    contract addresses and Ethereum wallet contributions. In many instances, Mr. Fine rejected Mr.

    Phillips’ suggestions. Mr. Gordon also contributed to the GitBook, and Mr. Breslow reviewed and

    edited its contents. The GitBook’s public release on February 2, 2022, marked MovementDAO’s

    official launch as it enabled individuals to join the Movement community, contribute funds, and

    participate in its governance. Mr. Phillips and Plaintiffs intended for the GitBook to be a public-

    facing document that would attract developers, contributors, and community members. Much like

    a set of corporate bylaws, the GitBook was intended to function as MovementDAO’s initial

    governing document. The following are critical provisions of the GitBook:

        •   MovementDAO would have an endowment funded by contributions invested in

            cryptocurrency and cryptocurrency-adjacent assets, and the proceeds would be used to

            fund social movements.

        •   MovementDAO would be governed by Snapshot Voting, under which members may

            submit proposals, and Movement token holders can then use their tokens to vote for or

            against a proposal.




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        •   The Law Firm would act as MovementDAO’s “Service Provider” and handle financial

            transactions. The Service Provider’s legal fees were estimated at 2% of assets held per

            year.

        •   MovementDAO’s founders (which includes Mr. Phillips) can exercise a veto over pending

            proposals.

        •   The Founders’ tokens (Counterclaim-Defendants’ tokens included) will be locked for a

            period of years from launch, meaning there would be stability for developers and

            contributors to join MovementDAO, and that Counterclaim-Defendants could not

            withdraw or redeem their contributions for at least several years.1

        •   MovementDAO was “neither designed to be, nor is it set up to be, an investment vehicle”

            and instead closer to a non-profit in that contributions to MovementDAO are charitable in

            nature.

        •   The “purchase of Tokens is non-refundable and cannot be cancelled.”

            39.       As of MovementDAO’s launch and the publication of the GitBook, Mr. Breslow

    wanted to be known to the MovementDAO community as “John Galt.”2 Upon information and

    belief, Mr. Breslow induced members of the public to contribute to MovementDAO and join its

    community, by making the following additions to the GitBook shortly before its publication (either

    typing these additions himself or causing Mr. Fine and/or Mr. Gordon to do so):


    1
      The length of the lock-up period varied in different versions of the GitBook, but Counterclaim-
    Defendants promised Mr. Phillips that their contributions would be locked for six years, and each
    published version of the GitBook contemplated that the lock-up period would be multiple years.
    Versions with four years and “#years” were published simultaneously, and Counterclaim-
    Defendants added the latter language without telling Mr. Phillips.
    2
      John Galt is a character in Ayn Rand’s novel Atlas Shrugged, who “secretly organized a strike
    by the world’s creative leaders, including inventors, artists and businessmen, in an effort to ‘stop
    the motor of the world’ and bring about the collapse of the bureaucratic society.” Wikipedia, John
    Galt, https://en.wikipedia.org/wiki/John_Galt (last accessed Apr. 18, 2023).


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    Despite adding these sections, Mr. Breslow caused them to be removed from the GitBook in the

    weeks following MovementDAO’s launch.

           40.     On February 2, 2022, in addition to promoting the GitBook to the public, Mr. Fine

    encouraged his Twitter followers to contribute to MovementDAO. He also instructed Mr. Phillips

    to announce the launch via an email blast to a mailing list of over 110,000 people curated by Mr.

    Breslow.

           41.     Many people contributed to MovementDAO. Nine contributors outside of

    Counterclaim-Defendants account for over $1.7 million in contributions, and there are many more

    smaller contributors.

           42.     Mr. Fine promoted MovementDAO on Discord, Facebook, Twitter, and other

    online communities, sometimes using the alias “Steve Faffle,” and at other times using the alias

    “mr_fine.” Shortly after MovementDAO’s launch, Mr. Fine, using his “mr_fine” alias, promoted

    MovementDAO on Discord by stating that he “discovered Movement recently and this product

    looks amazing!,” thus concealing his involvement in the project. Mr. Phillips was deeply




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    concerned about Mr. Fine’s deception as misrepresentations designed to induce others to purchase

    cryptocurrency tokens may be considered by regulatory authorities as securities fraud.




           43.    Between February and August of 2022, MovementDAO’s governance took place

    mainly on Discord. During this period, Mr. Phillips shepherded the roll-out of online



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    documentation and tooling relating to its treasury and issuance of NFTs so that DAOs that formed

    under Movement’s umbrella had the resources to be legally compliant.

           44.     Until approximately April 2022, Mr. Fine acted as if he were MovementDAO’s de

    facto leader. On or around April 9, 2022, Mr. Fine left the MovementDAO office house in Miami

    in order to attend to personal, family issues, but he never returned to his former position of

    leadership in MovementDAO.

           45.     In March 2022, Mr. Phillips set up the Snapshot.org voting system in accordance

    with the GitBook, which enabled MovementDAO community members to govern MovementDAO

    by exercising their NFTs issued by MovementDAO to vote.

           46.     On March 24, 2022, Mr. Fine announced that the PeaceDAO, a DAO formed by

    MovementDAO, and dedicated to funding Ukrainian humanitarian aid, would be launching that

    day. Mr. Breslow, using the moniker “theryanking,” responded: “This is going to be EPIC!.”

    PeaceDAO did indeed launch, and collected contributions and funded Ukrainian humanitarian aid

    efforts. Donations received were sent to the Law Firm to be converted to cryptocurrency.

    PeaceDAO’s treasury automatically paid a fee (also referred to as a “tribute”) to MovementDAO

    for services provided. At a launch party for the PeaceDAO, Mr. Breslow (pictured below in a tie-

    dye shirt) gave a speech where he encouraged members of the audience to join the PeaceDAO

    discord, participate in its community, and use the platform as a way to promote peace (Mr. Fine is

    pictured to Mr. Breslow’s right.)




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           47.     On June 13, 2022, Mr. Phillips posted on MovementDAO’s Discord that a Snapshot

    proposal regarding the purchase of ETH (a widely traded cryptocurrency) would be voted on via

    Snapshot in accordance with the GitBook. The MovementDAO community approved this proposal

    on Snapshot using NFTs to vote. Despite the volatility of the cryptocurrency market, Mr. Phillips’

    farsighted decision to invest the majority of Movement’s treasury in DAI (a “stablecoin” that

    tracked the dollar) rather than the more volatile Ethereum prevented MovementDAO from losing

    millions of dollars. The treasury’s present value exceeds $12,000,000—if MovementDAO had

    invested solely in ETH, it would be worth approximately $4.1 million.

           48.     Despite his around-the-clock efforts to build MovementDAO’s technical

    architecture, Mr. Phillips repeatedly told Plaintiffs that he did not want to be in charge of

    MovementDAO’s governance, and that he wanted to be a programmer running the engineering

    side of MovementDAO. Mr. Phillips later recruited Mr. Reed to serve as MovementDAO’s

    Authorized Member (providing operational, administrative, and executive oversight to

    MovementDAO) and an individual known as Filip Vizitiu (“Mr. Vizitiu”) to manage



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    MovementDAO’s community and governance. Despite Mr. Vizitiu’s hire, MovementDAO

    continued paying Mr. Gordon to manage MovementDAO’s community, a task to which he devoted

    minimal efforts at best in the last four months of 2022. Before Mr. Reed and Mr. Vizitiu assumed

    significant roles in MovementDAO, there was a vacuum in governance as Mr. Fine had failed to

    make proposals, draft governing and organizational documents, or update the GitBook to conform

    to MovementDAO’s continued evolution.

           49.    After the Snapshot.org voting system was in place, Messrs. Phillips and Reed and

    Mr. Vizitiu rolled out a series of proposals in order to focus MovementDAO’s resources on

    development (i.e., MovementDAO’s technical architecture) instead of marketing and bring its

    governance in line with the GitBook. On August 23, 2022, Mr. Phillips proposed, and

    MovementDAO’s community approved, MIP-0000, which, in addition to the GitBook, served as

    a governing document for MovementDAO. Its key provisions included the following:

       •   One objective was to “recognize the DAO’s legal standing as an entity[.]” MovementDAO

           confirmed its continued operation as a Delaware unincorporated nonprofit association.

       •   MovementDAO would adopt the Guiding Principles, Terms of Service, and Code of

           Conduct attached as Exhibits A, B, and C to the MIP.

       •   Mr. Reed was appointed as MovementDAO’s Secretary and Authorized Member.

           50.    The Guiding Principles vested all control over MovementDAO’s affairs in its

    members, i.e., all those holding governance tokens. Members’ authority included the authority to

    expel another member through an ordinary Snapshot vote. The Service Provider (the Law Firm

    and Mr. Phillips) had the authority to remove a member without notice or a vote if the Service

    Provider “determines such a removal to be necessary, desirable, or appropriate[.]” MovementDAO

    was authorized to pay reasonable compensation and reimburse reasonable expenses to members




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    and third parties. The Service Provider was authorized to veto any action, proposal, or decision of

    MovementDAO and its members.

           51.     The Guiding Principles stated that MovementDAO was formed on February 2,

    2022, and that the obligations of the members would be governed by the Delaware Uniform

    Unincorporated Nonprofit Association Act and “this Agreement” (i.e., the Guiding Principles).

           52.     In addition to MIP-0000, MovementDAO’s community enacted MIPs 0001

    through 0007 around the same time period. These MIPS helped MovementDAO continue its

    development by, among other things, providing for the appointment of the Service Provider (the

    Law Firm); formalizing MovementDAO’s governance process; diversifying MovementDAO’s

    treasury holdings; transferring funds from MovementDAO’s GNOSIS Safe account to a separate

    developer account to fund continued development work; and providing for the formation of

    DAOLabs LLC, a business that would help serve MovementDAO’s real world needs, including

    operating bank accounts, credit cards, making payments, and holding assets,

           53.     Counterclaim-Defendants were not only aware of, but supportive of Mr. Phillips’

    efforts. On August 24, 2022, Mr. Phillips asked Mr. Fine if he “s[aw] the recent [MIPs] proposals,”

    told Mr. Fine to read them, and explained that he was “proposing a path to be clearly legal while

    using the benefits of tokens.”



                                     [continued on following page.]




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           54.     On August 27, 2022, shortly before going “off the grid for a week” for the Burning

    Man festival, Mr. Breslow wrote to Mr. Phillips: “Thanks for the epic weeks. Things haven’t been

    easy but we’re moving in the right direction. So much gratitude for everything you both do.”




           55.    Mr. Gordon indicated his approval of MIPs 0000, 0001, 0002, 0004, 0005, 0006,

    0007, and 0008 by voting for them on Snapshot. By not voting for MIP-0003, Mr. Gordon showed

    that he was reviewing the MIPS, and exercising discretion with respect to his voting. Indeed, Mr.

    Gordon’s decision not to vote for MIP-0003 is understandable as it reflected the community’s


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    decision to devote more funds to development at the expense of community and marketing (an

    area Mr. Gordon was responsible for overseeing).

           56.     On August 30, 2022, the first sign of Plaintiffs’ intention to “rug” the community

    emerged. (A “rug” or “rug pull” is a common exit scam in the crypto space where a development

    team suddenly abandons a project and absconds with investors’ funds.) Mr. Breslow, began for

    the first time, seeking constant updates on the treasury balance in the Gnosis and the development

    expense budget, indicating that he was more concerned with the present value of the treasury than

    MovementDAO’s long-term success.

           57.     In addition to Mr. Breslow’s newfound concern with MovementDAO’s expenses,

    an even larger concern was Mr. Fine’s perception of his contribution to MovementDAO as an

    “investment” that he could yank back from MovementDAO. In September 2022, following a

    decline in the cryptocurrency markets, Mr. Phillips learned from Mr. Breslow that Mr. Fine wanted

    20% of Mr. Breslow’s contributions and a $1 million redemption. On September 15, 2022, Mr.

    Fine communicated to the parties that he wanted to redeem his entire contribution.

           58.     A redemption by a founding contributor would violate the fundamental terms

    governing MovementDAO as set forth in the GitBook, as well as assurances Counterclaim-

    Defendants made to Mr. Phillips, so Mr. Phillips responded to this news by writing a memorandum

    to Mr. Breslow, which was dated October 2, 2022, in addition to advising Mr. Reed, as

    MovementDAO’s Authorized Member, of his concerns the day prior. After describing the facts

    relating to MovementDAO’s creation and governance, its critical governing documents (including

    MIPs), and its structure as a Delaware unincorporated nonprofit association, Mr. Phillips explained

    that “[a]ny community proposal which directs the entity to return portion of their contribution




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    would be against the guiding principles and would be subject to veto,” and that it would “strong

    suggest a fraudulent scheme designed to induce unwitting 3rd parties to contribute was afoot.”

           59.     When Mr. Fine continued pressing Mr. Breslow for a premature redemption, Mr.

    Phillips wrote and transmitted to Mr. Breslow a second memorandum explaining that a premature

    winddown of Movement would result in the “[r]esignation of dao-lawfirm.eth and the delegation

    of voting” along with “criminal” and “civil” consequences.

           60.     Despite Mr. Phillips’ memoranda, Mr. Fine and then Mr. Breslow himself

    continued to press Mr. Phillips regarding a redemption of their contributions to MovementDAO.

    Upon information and belief, the decline in the cryptocurrency markets and the value of Mr.

    Breslow’s holdings in Bolt in the recent equity selloffs in the technology sector, had caused

    significant liquidity problems for both Messrs. Fine and Breslow; the latter even had to sell his

    house in Miami for liquidity.

           61.     Upon information and belief, Mr. Breslow’s liquidity crisis was also induced by a

    lavish trip to Europe he took with an entourage, in which Mr. Breslow accrued $8 million in

    expenses, for which Mr. Gordon informed Mr. Phillips that Mr. Breslow was seeking

    reimbursement from Bolt.

           62.     In conversations between October and December of 2022, Mr. Phillips continued

    to insist that Messrs. Breslow and Fine could not redeem their contributions to MovementDAO as

    the GitBook prohibited the same, and others had relied on those representations.

           63.     On December 27, 2022, Mr. Phillips wrote a memorandum to Mr. Breslow

    describing their discussions regarding the issue of early redemptions. Mr. Phillips again explained

    why early redemptions were not allowed. Given the pressure Mr. Breslow was placing on him,

    Mr. Phillips also included a proposed path forward under which all community members would




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    be offered redemption rights; counsel would be retained to amend the terms of service; a schedule

    of payments would be created for parties, dao-lawfirm.eth, and developers, along with other acts

    necessary to effect those changes. Mr. Phillips, however, emphasized, “Funds held by the

    Movement DAO are for its purposes and are no longer the property of the contributors – as stated

    repeatedly in the disclaimers.”

           64.     Between December 28 and 30, 2022, Messrs. Phillips and Reed shared their fears

    with the community in messages on Discord. Mr. Breslow, presumably unhappy with Mr. Phillips’

    unwillingness to allow him to violate MovementDAO’s governing documents, wrote the following

    in an email to Mr. Phillips (with Messrs. Fine and Gordon copied) on December 30, 2023:

    “Effective immediately, Alex Jon and I vote to stop all spend out of the Move treasury. We are

    happy to approve payment of your and Jon Gordon’s salaries through January 31st. We will also

    consider any bare minimum necessary legal spend for the month of January.”

           65.     Upon information and belief, Mr. Breslow was speaking not only for himself, but

    also for Messrs. Fine and Gordon, when he directed Mr. Phillips to cease spending

    MovementDAO’s funds.

           66.     Counterclaim-Defendants lacked authority to force Mr. Phillips to cease spending

    MovementDAO’s money because that money belonged to MovementDAO, and MovementDAO

    was governed by its members in accordance with its governing documents.

           67.     Counterclaim-Defendants nonetheless caused significant harm by directing Mr.

    Phillips to cease spending MovementDAO’s funds as they later accused Messrs. Phillips and Reed

    of defrauding them and took the position that MovementDAO had never launched and was not a

    real entity, all in an effort to try to take back their contributions to MovementDAO. As a result of

    Counterclaim-Defendants’ actions, MovementDAO has incurred significant damage to its




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    goodwill, has had to spend significant amounts of money as a reasonable and foreseeable result of

    Counterclaim-Defendants’ actions, and has lost economic opportunities it otherwise would have

    had.

           68.       As just one example, Mr. Yurchak caused the Law Firm to resign as

    MovementDAO’s Service Provider as a result of the conflict between the parties, which caused a

    substantial interruption in MovementDAO’s business affairs as MovementDAO needed to procure

    the services of a new Service Provider. Mr. Yurchak later disclaimed the attorney-client

    relationship that existed between himself and the Law Firm and MovementDAO. Upon

    information and belief, Mr. Yurchak did so because of pressure that Counterclaim-Defendants

    placed on him.

           69.       Counterclaim-Defendants further tried to interfere with MovementDAO’s

    relationships with other contractors, including senior developers, spreading lies about Mr. Phillips

    and MovementDAO in an effort to convince the contractors to cease doing business with

    MovementDAO. Some of these efforts failed as many of MovementDAO’s senior developers

    knew that MovementDAO was a legitimate and valuable organization and that Mr. Phillips had

    done nothing wrong.

           70.       In the case of a contractor, Mr. Vizitiu, who managed MovementDAO’s

    governance operations, Counterclaim-Defendants’ campaign of interference succeeded, just as it

    did with Mr. Yurchak and the Law Firm. Upon information and belief, one or more of

    Counterclaim-Defendants, with authority from the remaining Counterclaim-Defendants, maligned

    Mr. Phillips to Mr. Vizitiu, implying that Mr. Phillips stole from MovementDAO, in an effort to

    cause Mr. Vizitiu to cease working for MovementDAO, which he did.




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           71.     Following Counterclaim-Defendants’ attempt to “pull the rug,” Messrs. Phillips

    and Reed worked hard to keep MovementDAO afloat. They convened an emergency committee

    to seek community input on MovementDAO’s continued governance and operations, and followed

    committee decisions with MIPs to that the whole community could continue governing

    MovementDAO in accordance with its governing documents. Messrs. Phillips and Reed, along

    with MovementDAO’s developers, continued building MovementDAO.

           72.     Counterclaim-Defendants ambushed Messrs. Phillips and Reed with a lawsuit in a

    last-ditch effort to freeze MovementDAO’s assets, obtaining an ex parte temporary restraining

    order on the basis of omissions, misrepresentations, fabrications.

                                               Legal Claims

                                 COUNT I: BREACH OF CONTRACT

                         MovementDAO against all Counterclaim-Defendants

           73.     Counterclaim-Plaintiffs incorporate by reference each of the proceeding paragraphs

    as though fully set forth herein.

           74.     The GitBook is a valid contract between MovementDAO and its members. As

    members of MovementDAO, Counterclaim-Defendants consented to be bound by the GitBook.

           75.     The GitBook provided that that the founders’ (which includes Counterclaim-

    Defendants) tokens would be locked for a period of multiple years.

           76.     Counterclaim-Defendants breached the GitBook by attempting to redeem their

    contributions to MovementDAO less than a year after MovementDAO launched, thereby

    breaching their obligation to keep their contributions locked for a period of multiple years.

           77.     As a result of Counterclaim-Defendants’ breach of the GitBook, MovementDAO

    has suffered damages in an amount to be proven at trial.




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            78.       The Guiding Principles is a contract between the Members of MovementDAO. As

    members of MovementDAO, Counterclaim-Defendants consented to be bound by the Guiding

    Principles.

            79.       Section 2(f) of the Guiding Principles states: “Governance Rights and the

    governance tokens provide no possibility of profits and losses, no rights to distributions and

    dividends, and no rights to ownership or management of the DAO. Each Member (or assign, as

    the case may be) that receives or holds governance Tokens expressly and unequivocally agrees

    that the Tokens provide no rights to profits and/or losses, that the Tokens do not entitle their holder

    to distributions or dividends, and that the Tokens do not make their holder an owner or manager

    of the DAO.”

            80.       Counterclaim-Defendants breached Section 2(f) of the Guiding Principles by trying

    to exercise control over MovementDAO’s treasury and operations without regard to

    MovementDAO’s governing documents or governance processes.

            81.       Section 6(d) of the Guiding Principles states: “During the term of their DAO

    Membership, and thereafter, any Member shall not make any disparaging remarks, or any remarks

    that could reasonably be construed as disparaging regarding the DAO, its Members, its affiliates,

    or its agents.”

            82.       Counterclaim-Defendants breached Section 6(d) of the Guiding Principles by

    disparaging MovementDAO, Mr. Phillips, and Mr. Reed by disavowing MovementDAO’s

    existence to counterparties and describing its ongoing business, as well as Messrs. Phillips and

    Reed’s role in governing MovementDAO, as fraudulent. For example, Counterclaim-Defendants

    disparaged MovementDAO and Mr. Phillips to Joao Ritter, the founder of Juicebox, a platform

    whose open-source code Mr. Phillips used to construct MovementDAO. As a result of this




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    disparagement, MovementDAO lost its close partnership with the Juicebox community, which has

    caused substantial harm to its future prospects.

            83.     As a result of Counterclaim-Defendants’ breaches of Sections 2(f) and 6(d) of the

    Guiding Principles, MovementDAO has suffered damages in an amount to be proven at trial.

            84.     The Code of Conduct is a valid contract between MovementDAO and its members.

    As members of MovementDAO, Counterclaim-Defendants consented to be bound the Code of

    Conduct.

            85.     Paragraph 3 of the Community Standards section of the Code of Conduct states:

    “Members must not employ any device, scheme, or artifice to defraud Movement, engage in any

    act, practice, or course of business that operates or would operate as a fraud or deceit on Movement,

    or engage in any manipulative practice with respect to Movement[.]”

            86.     Counterclaim-Defendants breached Paragraph 3 of the Community Standards

    section of the Code of Conduct by attempting to withdraw their contributions to MovementDAO

    after inducing MovementDAO’s members to contribute funds to MovementDAO by promising

    that their contributions would be locked for a period of multiple years. In addition, Counterclaim-

    Defendants further breached this provision by disavowing MovementDAO’s existence to

    counterparties and describing its ongoing business, as well as Messrs. Phillips and Reed’s role in

    governing MovementDAO, as fraudulent, thus engaging in a manipulative practice with respect to

    MovementDAO.

            87.     As a result of Counterclaim-Defendants’ breach of Paragraph 3 of the Community

    Standards section of the Code of Conduct, MovementDAO has suffered damages in an amount to

    be proven at trial.




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           88.     MIP-0004 is a valid contract between MovementDAO and its members. As

    members of MovementDAO, Counterclaim-Defendants consented to be bound by MIP-0004.

           89.     MIP-0004 provides that “the DAO, through its Service Provider, is authorized to

    make payments to itself, dao-lawfirm.eth, and tankbottoms.eth [Mr. Phillips] for Cryptocurrency

    reimbursements associated with ongoing expenses which have continued to date, such as software

    subscriptions, development services, and individual and/or associated compensation.”

           90.     Counterclaim-Defendants breached MIP-0004 by disclaiming Mr. Phillips’ right to

    expend funds on behalf of MovementDAO and actively frustrating MovementDAO’s continued

    expenditures and operations.

           91.     As a result of Counterclaim-Defendants’ breach of MIP-0004, MovementDAO has

    suffered damages in an amount to be proven at trial.

       COUNT II: TORTIOUS INTERFERENCE WITH CONTRACTUAL RELATIONS

                         MovementDAO against all Counterclaim-Defendants

           92.     Counterclaim-Plaintiffs incorporate by reference each of the proceeding paragraphs

    as though fully set forth herein.

           93.     MovementDAO had a business relationship with Mr. Yurchak and the Law Firm

    as Mr. Yurchak and the Law Firm served as MovementDAO’s legal counsel.

           94.     Counterclaim-Defendants were aware of the business relationship between

    MovementDAO and Mr. Yurchak and the Law Firm.

           95.     Counterclaim-Defendants engaged in intentional and unjustified interference with

    MovementDAO’s relationship with Mr. Yurchak and the Law Firm by putting pressure on Mr.

    Yurchak to terminate his attorney-client relationship with MovementDAO. Counterclaim-

    Defendants acted with malice as their sole intent in interfering with this business relationship was




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    to cause Mr. Yurchak to cease acting as MovementDAO’s legal counsel. Counterclaim-Defendants

    did not interfere with this relationship in their capacity as agents or employees of MovementDAO.

             96.    As a result of Counterclaim-Defendants’ interference with MovementDAO’s

    relationship with Mr. Yurchak and the Law Firm, MovementDAO has suffered damages in an

    amount to be proven at trial.

             97.    MovementDAO had a business relationship with an individual known as Mr.

    Vizitiu as Mr. Vizitiu managed governance operations for MovementDAO.

             98.    Counterclaim-Defendants engaged in intentional and unjustified interference with

    MovementDAO’s relationship with Mr. Vizitiu by maligning Mr. Phillips and MovementDAO to

    Mr. Vizitiu, falsely implying that Mr. Phillips was stealing from MovementDAO. Counterclaim-

    Defendants acted with malice as their sole intent in interfering with this business relationship was

    to cause Mr. Vizitiu to cease doing work for MovementDAO. Counterclaim-Defendants did not

    interfere with this relationship in their capacity as agents or employees of MovementDAO.

             99.    As a result of Counterclaim-Defendants’ interference with MovementDAO’s

    relationship with Mr. Vizitiu, MovementDAO has suffered damages in an amount to be proven at

    trial.

             100.   MovementDAO is entitled to punitive damages because Counterclaim-Defendants

    are personally guilty of intentional misconduct.

                                COUNT III: DECLARATORY RELIEF

                         MovementDAO against all Counterclaim-Defendants

             101.   Counterclaim-Plaintiffs incorporate by reference each of the proceeding paragraphs

    as though fully set forth herein.




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            102.   MovementDAO is an unincorporated nonprofit association that has been duly

    formed under Delaware law.

            103.   Counterclaim-Defendants have taken the position that MovementDAO does not

    exist as such and has used that position in order to frustrate MovementDAO’s ongoing business

    dealings.

            104.   There is therefore an actual controversy involving MovementDAO’s existence as

    an entity.

            105.   MovementDAO therefore seeks a declaratory judgment affirming its existence as

    an unincorporated nonprofit association formed under Delaware law.

                                COUNT IV: BREACH OF CONTRACT

                           Mr. Phillips against all Counterclaim-Defendants

            106.   Counterclaim-Plaintiffs incorporate by reference each of the proceeding paragraphs

    as though fully set forth herein.

            107.   Counterclaim-Defendants and Mr. Phillips entered into a valid oral contract in or

    around December 2021. Under the terms of this contract, Mr. Phillips agreed to leave the SEC and

    work for what would become MovementDAO on a full-time basis in exchange for Counterclaim-

    Defendants agreeing to the following conditions (among others): (1) Mr. Phillips would have veto

    power over decisions relating to MovementDAO’s treasury in order to assuage Mr. Phillips’ worry

    that the project would devolve into a cryptocurrency pump-and-dump scheme; and (2)

    MovementDAO’s founders, including Counterclaim-Defendants, would commit to providing

    substantial funding to MovementDAO, and agree to lock their contributions for six years so that

    the project would be sufficiently secure to attract developers and donors.




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           108.    Counterclaim-Defendants confirmed and ratified their promise to Mr. Phillips after

    Mr. Phillips performed his scope of work under the IC Agreement.

           109.    Counterclaim-Defendants breached their oral contract with Mr. Phillips by

    engaging in efforts to revoke Mr. Phillips’ right to exercise veto power over decisions relating to

    MovementDAO’s treasury and by engaging in efforts to revoke their contributions to

    MovementDAO before even one year of the promised six-year lock-up period had elapsed.

           110.    As a result of Counterclaim-Defendants’ breach of contract, Mr. Phillips suffered

    damages in an amount to be proven at trial.

                                COUNT V: PROMISSORY ESTOPPEL

                           Mr. Phillips against all Counterclaim-Defendants

           111.    Counterclaim-Plaintiffs incorporate by reference each of the proceeding paragraphs

    as though fully set forth herein.

           112.    In or around December 2021, in order to induce Mr. Phillips to leave the SEC and

    work full-time on what would become MovementDAO, Counterclaim-Defendants made a number

    of promises to Mr. Phillips, including the following: (1) Mr. Phillips would have veto power over

    decisions relating to MovementDAO’s treasury in order to assuage Mr. Phillips’ worry that the

    project would devolve into a cryptocurrency pump-and-dump scheme; and (2) MovementDAO’s

    founders, including Counterclaim-Defendants, would commit to providing substantial funding to

    MovementDAO, and agree to lock their contributions for six years so that the project would be

    sufficiently secure to attract developers and donors.

           113.    Counterclaimants should have reasonably expected that Mr. Phillips would rely on

    their promises because Mr. Phillips made clear he would not leave the SEC to work full-time on




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    what would become MovementDAO unless Counterclaim-Defendants agreed to make such

    promises.

           114.    Counterclaim-Defendants’ promises did in fact induce Mr. Phillips to leave the

    SEC and work full-time on what would become MovementDAO.

           115.    Counterclaim-Defendants breached their promises to Mr. Phillips by engaging in

    efforts to revoke Mr. Phillips’ right to exercise veto power over decisions relating to

    MovementDAO’s treasury and by engaging in efforts to revoke their contributions to

    MovementDAO before even one year of the promised six-year lock-up period had elapsed.

           116.    As a result of Counterclaim-Defendants’ breaches of their promises on which Mr.

    Phillips reasonably relied to his detriment, Mr. Phillips has suffered damages in an amount to be

    proven at trial, and injustice can only be avoided by enforcing Counterclaim-Defendants’

    promises.

                                         COUNT VI: FRAUD

                           Mr. Phillips against all Counterclaim-Defendants

           117.    Counterclaim-Plaintiffs incorporate by reference each of the proceeding paragraphs

    as though fully set forth herein.

           118.    In order to induce Mr. Phillips to leave the SEC and work full-time on what would

    become MovementDAO, as well as contribute his own funds to MovementDAO, Counterclaim-

    Defendants promised in conversations with Mr. Phillips in or around December 2021 that (1) Mr.

    Phillips would have veto power over decisions relating to MovementDAO’s treasury in order to

    assuage Mr. Phillips’ worry that the project would devolve into a cryptocurrency pump-and-dump

    scheme; and (2) MovementDAO’s founders, including Counterclaim-Defendants, would commit




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    to providing substantial funding to MovementDAO, and agree to lock their contributions for six

    years so that the project would be sufficiently secure to attract developers and donors.

            119.    Counterclaim-Defendants made these promises without a present intent to honor

    them and with knowledge as to their falsity, as evidenced by Counterclaim-Defendants’ later

    insistence that their contributions to MovementDAO were “investments” and that they had the

    right to withdraw their contributions to MovementDAO and direct MovementDAO’s operations

    and treasury.

            120.    Counterclaim-Defendants made these promises with the knowledge that their

    promises would induce Mr. Phillips to leave the SEC and work full-time on what would become

    MovementDAO. As a result of Counterclaim-Defendants’ promises, Mr. Phillips left the SEC and

    worked full-time on what would become MovementDAO and contributed his own funds to

    MovementDAO.

            121.    As a result of Counterclaim-Defendants’ fraudulent inducement, Mr. Phillips has

    suffered damages in an amount to be proven at trial.

            122.    Mr. Phillips is entitled to punitive damages because Counterclaim-Defendants are

    personally guilty of intentional misconduct.

                                             Prayer for Relief

            WHEREFORE, Counterclaim-Plaintiffs pray for relief as follows:

            A.      That the Court enter judgment in favor of Counterclaim-Plaintiffs as against

    Counterclaim-Defendants.

            B.      That the Court award Counterclaim-Plaintiffs compensatory damages, including all

    special damages and consequential damages arising out of Counterclaim-Defendants’ wrongful

    acts.




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           C.      That the Court award Counterclaim-Plaintiffs punitive damages.

           D.      That the Court issue preliminary and permanent injunctive relief so as to protect

    Counterclaim-Plaintiffs from suffering irreparable harm.

           E.      That the Court issue declaratory relief establishing that MovementDAO is an

    unincorporated nonprofit association duly organized under Delaware law.

           F.      That the Court award Counterclaim-Plaintiffs their fees and costs, including

    reasonable attorneys’ fees, to the extent permitted by law or contract.

           G.      That the Court issue Counterclaim-Plaintiffs such other and further relief that is just

    and proper.

                                                          Respectfully submitted,

                                                           /s/ Nitoj P. Singh

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